 

 

ay Case 1:19-cr- 00014- GLR Document1 Filed 01/10/19’ Page 1 0f 5

ping i ye v ri.
ea . pisTritT oF FYLARD
MFD: USAO 2018R00551 2019 JAR 10 PH 3:08

IN THE UNITED STATES DISTRICT COURT SLER'S cer ice
FOR THE DISTRICT OF MARYLAND BALTINGRE

BY__/ MEP UTY
UNITED STATES OF AMERICA

CRIMINALNO. GCLA-/ 9-1

*
*
v. *
C4
TYWANDA PITTMAN | * (Theft of Government Property,
*
*
*
*

QUARCOOPOME, 18 U.S.C. § 641; Aiding and
Abetting, 18 U.S.C. § 2; Forfeiture,
18 U.S.C. § 981(a)(1)(C), 21 U.S.C.

Defendant
§ 833, 28 U.S.C. § 2461(c))

*

BREKERK

INDICTMENT
COUNT ONE

The Grand Jury for the District of Maryland charges that:
Introduction

At all times relevant to the charges in this Indictment:

1, TYWANDA PITTMAN QUARCOOPOME (“QUARCOOPOME?”) was a
resident of Fort Washington, Maryland. |

2. QUARCOOPOME was a professional in-home caretaker who cared for M.A
until M.A’s death in November 2012.

3. In or about July 1993, M.A. became entitled to Title II Retirement Insurance
Benefits (“RIB”), which are administered by the Social Security Administration (“SSA”). In
order to be entitled to RIB, a beneficiary first must have worked for a sufficient period of time

during which the beneficiary paid Social Security taxes, and have been at least 62 years of age.

A beneficiary’s entitlement to RIB terminated upon death of the beneficiary.

 
Case 1:19-cr-00014-GLR Document1 Filed 01/10/19 Page 2 of 5

4, In addition, in or about 1998, M.A. became entitled to a Civil Service Retirement
System (“CSRS”) survivor annuity upon the death of M.A.’s spouse, who was a federal
employee. The Office of Personnel Management (“OPM”), which administers the CSRS
program, paid a survivor annuity to the surviving spouses of qualifying federal employees who
signed up for the survivor annuity benefit in exchange for a reduced retirement annuity. The
survivor annuity was paid in monthly installments beginning upon the federal employee’s death,
and terminated upon the death of the surviving spouse.

5. On or about November 5, 2012, MA. died, however, SSA and OPM continued to
send monthly benefits payments to M.A.

6. On or about March 5, 2018, SSA Office of Inspector General agents interviewed
QUARCOOPOME in M.A.’s former home, where QUARCOOPOME was living.
QUARCOOPOME admitted that M.A. was deceased, and that QUARCOOPOME spent
M.A.’s SSA benefits payments, even though QUARCOOPOME knew it was wrong.
QUARCOOPOME also admitted to spending an annuity in the name of M.A.’s spouse.

7. Records from the bank account into which the SSA RIB and CSRS survivor
annuity funds were deposited showed that the account was titled to QUARCOOPOME, and that
QUARCOOPOME spent the funds through cash withdrawals in-the form of checks to “cash,”
endorsed by QUARCOOPOME, as well as payments for utilities for the home in which

-QUARCOOPOME was living, and other purchases.
ha
|

Case 1:19-cr-00014-GLR Document 1 Filed 01/10/19 Page 3 of 5

The Charge

8. Between in or about November 2012 and in or about June 2018, in the District of

  

Maryland, the defendant,

TYWANDA PITTMAN QUARCOOPOME,

did embezzle, steal, purloin, and knowingly convert to her use and the use of another, any money
and thing of value of the United States and any department and agency thereof, with an
aggregate value that exceeded $1,000, that is, Social Security Retirement Insurance benefits
payments and Civil Service Retirement System survivor annuity payments to which she was not

entitled.

18 U.S.C. § 641
18 U.S.C. §2
 

 

LE

Case 1:19-cr-00014-GLR Document1 Filed 01/10/19 Page 4of 5

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with |
18 U.S.C. § 981 (a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), as a result of the
_ defendant’s conviction under Count One of this Indictment.

2. As a result of the offense set forth in Count One of the Indictment, the defendant,

TYWANDA PITTMAN QUARCOOPOME,
shall forfeit to the United States any property, real or personal, which constitutes or is derived
from proceeds traceable to such violation.

3. If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
' without difficulty;

it is the intent of the United. States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of any other

t
+f

property of said defendant up to the value of the forfeitable property, that is, at least $169,861.

 
 

 

I SSySTS=—~— ll TT,

il
Case 1:19-cr-00014-GLR Document1 Filed 01/10/19 Page 5of5

18 U.S.C. § 981(a\(1)(C)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

LLL Lun
Robert K. Hur
United States Attorney

A TRUE BILL:
2 eg

‘SIGNATURE REDACTED’ ifve Jy 9
“PORpetson Date ,

 

 
